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 UNITED STATESOFAM ERICA,                      )
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                    Plaintifll                 )
                                               )           2;08-CR-064-RLH (GW F)
        v.                                     )
                                               )
 CHRISTINA R.THOM PSON,                        )
                                               )
                    Defendant.                 )
                                 O R DER O F FO R FEIT UR E
        This Courtfotmd on February 1l,2011,thatCHRISTINA R.THOM PSON shallpay a

 criminalforfeituremoneyjudgmentof$175,906.36 in United StatesCurrency,pttrsuanttoFed.R.
 Crim.P.32.2(b)(1)and(2$ Title l8,UnitedSàtesCode,Section981(a)(1)(C)andTitle28,United
 SutesCode,Sectionz46ltcl;Title18,UrlitedSàtesCode,Section982(a)(2)(A);andTitlezl,united
 StatesCode,Section 853û9.Docket//173.
        TH EREFORE,IT IS IIER EBY ORDERED ,AD JUD G ED NAN D DECREED O tI eUIG H

 Sltesrecoverfrom CHRISTINA R.THOMPSON acriminalforfeiture moneyjudr entin the
 amotmtof$175,906.36inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);
 Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCodesSection2461(c);
 Titlel8,UnitedStatesCode,Section982(a)(2)(A);and-fitle21,UnitedSGtesCode,Section853û9.
        DATEDthis/ & dâyof               C,               ,2011.
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                                                W        /''*                X/
                                          UN       D     A TES D l TRICT JUD G E
